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                          UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF INDIANA

   THE SOCIETY FOR DIVERSITY, INC. an          )      CAUSE NO. 1:19-cv-4589
   Indiana corporation,                        )
      Plaintiff,                               )
      v.                                       )
                                               )
   DTUI.COM, LLC, a Nevada, a Limited          )
   Liability Company, and BILLY VAUGHN,   )           JURY TRIAL DEMANDED
      Defendants.                         )
   _______________________________________)


                     COMPLAINT FOR TRADEMARK INFRINGEMENT
                              AND RELATED CLAIMS

   The Society for Diversity, Inc., (“Plaintiff” or “SFD”) files this Complaint

against Defendant, DTUI.com, LLC (“DTUI”) and Billy Vaughn (“Vaughn”)

(collectively, “Defendants”) and allege as follows:

I. INTRODUCTION

   1. The Society for Diversity, Inc. (“SFD”) is the world’s oldest and largest

institution devoted to providing professional qualification credentials to

company leaders who are responsible for educating employees about diversity

and inclusion in the workplace. It has developed a proprietary curriculum that

has been embraced by businesses and governments nationally and
internationally. At significant expense and effort, SFD created the Certified

Diversity Professional (CDP) and Certified Diversity Executive (CDE) programs,

designations and certifications. SFD certifies persons that have passed its

rigorous tests and established their competency in diversity. Those persons are

permitted to use the CDP and CDE designations, which are registered

trademarks owned by SFD. The CDP and CDE designations are recognized

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worldwide for distinguishing persons who are truly proficient in the field of

diversity as established by SFD.

   2. Defendants provide services in the diversity education market. But

instead of competing fairly, Defendants began advertising that their educational

services will allow students to use the CDP and CDE designations owned by

SFD. However, SFD has not authorized Defendants to confer CDP or CDE

designations on Defendants’ students, and those students have not passed the

tests SFD requires of its students. In short, Defendants are purporting to offer

counterfeit CDP and CDE training and designations and renewals.

   3. This suit seeks to bring an end to the confusion and anarchy created by

Defendants intentional infringement and counterfeiting.

II. NATURE OF ACTION, JURISDICTION AND VENUE

   4. This is an action for trademark infringement, trademark dilution, false

designation of origin and unfair competition, under inter alia, the Lanham Act, 15

U.S.C. §§ 1051, et.seq.; and state common law.

   5. This Court has subject matter jurisdiction over the matter pursuant to 28

U.S.C. §§ 1331 and 1338 and 15 U.S.C. § 1121. In addition, jurisdiction exists

under 28 U.S.C. § 1332. The Court has supplemental jurisdiction over the state

law claims pursuant to 28 U.S.C. §§ 1367(a) and 1338(b).

   6. Venue is proper under, inter alia, 28 U.S.C. §§ 1391 and 1400 in that, on

information and belief, a substantial part of the events giving rise to this action

occurred in this judicial district, and Defendants or their agent(s) are subject to

personal jurisdiction in the district.



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   7. This Court may exercise personal jurisdiction over the Defendants because

of their systematic contacts with and purposeful availment of this forum.

Specifically and without limitation, Defendants sell, offer for sale and market the

subject infringing goods and services in this judicial district directly through the

Internet, including websites such as https://dtui.com/ and

https://diversityexecutiveacademy.com.

III. THE PARTIES

   8. Plaintiff, The Society for Diversity, Inc., is an Indiana corporation and has

its principal place of Business in Indianapolis, Indiana.

   9. Defendant, DTUI.com LLC, upon information and belief, is a Nevada

limited liability company with its office address at 350 Townsend Street, Suite

255, San Francisco CA 94107.

   10. Upon information and belief, Defendant, Billy Vaughn, is the member

manager of DTUI.com LLC, and maintains an office located at 350 Townsend

Street, Suite 255, San Francisco CA 94107.

   11. Upon information and belief Vaughn has known of, directed and

controlled the infringing activities of DTUI.com.

IV. FACTUAL ALLEGATIONS

   12. SFD provides education and training in the field of diversity and confers

CDP (certified diversity professional) and CDE (certified diversity executive)

designations to individuals that successfully complete its assessment process

and/or exam preparation courses. SFD also provides training materials to




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persons in the field of diversity that bear the marks CDP and CDE (collectively,

the “Marks”). These activities occur through interstate commerce.

   SFD owns numerous State and Federal trademark registrations that include

the terms CDP and CDE, including but not limited to Federal Registration Nos.

5,226,654, 5,208,283 and 5,226,655, Indiana Registration Nos. 2019000025334 and

2019000025335; California Registration Nos. 306277 and 306278, Florida

Registrations T19000000695 and T19000000696, and New York Registrations

S24639 and S24640 (the “Registrations”).

   13. The Registrations are prima facie evidence of the validity of the

Registrations, SFD’s ownership of the Marks, and its exclusive right to use the

Marks in commerce in connection with the goods and services specified in the

Registrations. The Registrations are also constructive notice of SFD’s ownership

of the Marks.

   14. SFD has a national and international customer base.

   15. The Marks have become widely recognized for high quality, training

curriculum and certification and professional qualification services, and have

developed extensive goodwill. The Marks are a valuable asset of SFD.
   16. Defendants are in the business of offering diversity training services,

materials and curriculum.

   17. On information and belief, Vaughn is the founder and owner of DTUI.

   18. On information and belief, each Defendant is the agent, servant, employee,

principal, successor, alter ego, and/or partner of the other Defendant, acting

within the course and scope of such capacities and with the permission and

consent of the other in doing the acts and engaging in the conduct alleged herein.


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   19. On information and belief, Defendants have offered diversity training and

certification services using the marks CDP and CDE and have directed and

purported to authorize others to use the marks CDP and CDE to describe their

qualifications in the field of diversity. Defendants did the foregoing knowing

that CDP and CDE were Registered Marks of SFD, and knowing that such acts

by them and the persons they have so directed and purported to authorize

would infringe SFD’s rights in the Marks.

   20. Defendants have also distributed goods comprising training materials

bearing the marks CDP and CDE, and such materials infringe SFD’s rights in the

Marks.

   21. A representative webpage of Defendants describing their activities that

infringe the Marks is as follows:




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   22. A representative webpage showing Defendant’s use of the SFD’s CDE

      mark appears at http://www.diversityexecutiveacademy.com/pricing/ as

      follows:




      23.   A representative fraudulent certification created by Defendants is:


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      24.   Vaughn uses the SFD’s marks CDP and CDE to promote himself and

      the services and goods of DTUI, including on the webpage:

      https://diversityexecutiveacademy.com/biily-e-vaughn-phd/:




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   25. Vaughn places SFD’s CDP and CDE marks adjacent his name, as

      evidenced by this representative LinkedIn profile:




   26. Vaughn’s use of CDP and CDE as indicated above falsely suggests to

      others that Vaughn has completed training and passed tests provided by

      SFD and that SFD has conferred the CDE designation on Vaughn.

   27. Defendants’ directions to others that they may use SFD’s mark CDP is

      further evidenced by this testimonial on Defendants webpage located at:

   https://diversityexecutiveacademy.com/online-diversity-certification/




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    28. The use of the mark CDP as indicated above falsely suggests to others,

       that the individuals have completed training and passed tests provided by

       SFD and that SFD has conferred the CDP designation on the individual.

    29. In addition, SFD requires persons who have been authorized by SFD to

       use the CDP or CDE marks to renew their certifications to continue to

       have the right to continue use the marks. Defendants have contacted

       persons that SFD has authorized to use its CDP and CDE marks to offer

       imitation certification renewal services; Defendants’ certification renewal

       notice, sent via email, continues Defendants’ practice of confusing

       consumers for Defendants’ own financial gain. The following is a

       representative certification renewal notice sent by Defendants:




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    30. Defendants knew that SFD used the Marks CDP and CDE before

       Defendants began their infringement.



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    31. SFD informed Defendants in writing of SFD’s rights in the s CDP and

       CDE by letters dated April 16, 2019 and July 23, 2019, and requested that

       they cease their infringing activity. However, Defendants have refused,

       and continue to infringe SFD’s rights.

    32. Defendants are not, and have never been, authorized by SFD to use any

       of SFD’s Marks.

    33. The use by Defendants of SFD’s Marks is likely to cause confusion and to

       deceive the public into believing that Defendants are affiliated or

       connected with, or are authorized or endorsed by SFD.

    34. As a result of the aforesaid acts of Defendants, SFD has suffered and

       continues to suffer substantial damages and irreparable injury.

    35. SFD has no adequate remedy at law and, unless Defendants are restrained

       and enjoined by this Court, said acts will continue to cause damage and

       irreparable injury to SFD and to its goodwill and business reputation.

    36. Plaintiffs cannot ascertain the precise amount of their damages at this

       time.

    37. Defendants were notified of their infringing activity, and demand has
       been made upon them to cease and desist, but they have nonetheless

       continued to infringe.

                     Count I – Federal Trademark Infringement

    38. The preceding allegations are incorporated herein by reference.

    39. Defendants’ use of the terms CDP, Certified Diversity Professional,

       Certified Diversity Executive and CDE, and in selling and advertising

       their services and products, and in directing others that they are entitled


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       to designate themselves as a CDP, CDE, Certified Diversity Professional

       or Certified Diversity Executive is likely to cause confusion, mistake, and

       deception among consumers as to the source, affiliation, connection,

       association, origin, or approval of the goods or services and falsely

       suggest a sponsorship, connection, license, affiliation or association

       between SFD on the one hand, and Defendants or the persons they have

       so directed on the other hand, in violation of Lanham Act § 32, 15 U.S.C. §

       1114.

    40. Defendants’ have induced others to use the terms CDP, Certified

       Diversity Professional, CDE and Certified Diversity Executive in a way

       that causes confusion, mistake, and deception among consumers as to the

       source, affiliation, connection, association, origin, or approval by SFD of

       the qualifications and experiences of those other persons, in violation of

       Lanham Act § 32, 15 U.S.C. § 1114.

    41. Defendants’ continued use of the infringing marks has injured SFD, and if

       permitted to continue, will further injure SFD by damaging its reputation

       and causing additional monetary damages.
    42. Defendants’ continued and knowing use of the infringing marks, or their

       reckless disregard, constitutes willful and/or intentional infringement and

       unfair competition, and this case is therefore exceptional under the

       Lanham Act.

    43. SFD has no adequate remedy at law and, if Defendants are not enjoined,

       SFD will suffer substantial irreparable harm and injury to their goodwill

       and reputation.


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    44. SFD cannot ascertain the precise amount of its damages at this time, but it

       is entitled to recovery of monetary damages, including, but not limited to,

       actual damages, treble damages, reasonable attorneys’ fees, and costs; SFD

       is also entitled to recover Defendants’ ill-gotten profits.

           Count II - False Designation of Origin And Unfair Competition

    45. The preceding allegations are incorporated herein by reference.

    46. Defendants’ actions in adopting, marketing, reproducing, publicly

       displaying, selling, offering to sell, and/or distributing goods and service

       using the Marks in interstate commerce without SFD’s consent constitute

       unfair competition and false designation of origin in violation of 15 U.S.C.

       § 1125(a) and has caused, and continues to cause, a substantial effect on

       interstate commerce in that a likelihood of confusion, mistake, and

       deception exists in the minds of the consuming public as to the source,

       sponsorship, affiliation, and/or connection of Defendants’ infringing

       goods and services.

    47. By reason of the foregoing, SFD has been injured in an amount to be

       proven. In addition, as a result of Defendants’ unlawful acts, SFD has
       suffered and will continue to suffer irreparable harm, and SFD has no

       adequate remedy at law with respect to this injury. Unless the acts of

       Defendants are enjoined by the Court, SFD will continue to suffer such

       harm.

    48. Defendants’ actions have been knowing, intentional, wanton, and willful,

       or done with reckless disregard of SFD’s rights, entitling SFD to damages,




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       treble damages, ill-gotten profits, reasonable attorneys’ fees, statutory

       damages, and the costs of this action.

            Count III – Infringement of Indiana Registered Trademarks

    49. The preceding allegations are incorporated herein by reference.

    50. The actions of Defendants referenced above infringe SFD’s Indiana

       Trademark Registration Nos. 2019000025334 and 2019000025335; for CDP

       and CDE, and violate Indiana Code 24-2-1-13, , et. seq.

    51. Defendants’ continued use of the infringing marks has confused the

       consuming public, injured SFD, and if permitted to continue, will further

       injure SFD by damaging its reputation and causing additional monetary

       damages.

    52. Defendants’ continued and knowing use of the infringing marks, or their

       reckless disregard, constitutes willful and/or intentional infringement.

    53. SFD has no adequate remedy at law and, if Defendants are not enjoined,

       SFD will suffer substantial irreparable harm and injury to their goodwill

       and reputation, and the consuming public will suffer further confusion.

    54. SFD cannot ascertain the precise amount of its damages at this time, but it
       is entitled to recovery of monetary damages, including, but not limited to,

       actual damages, treble damages, reasonable attorneys’ fees, and costs; SFD

       is also entitled to recover Defendants’ ill-gotten profits.

           Count IV – Infringement of California Registered Trademarks

    55. The preceding allegations are incorporated herein by reference.




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    56. The actions of Defendants referenced above infringe SFD’s California

       Trademark Registration Nos. 306277 and 306278 for CDP and CDE, and

       violate California Business and Professions Code Sections 14200, et. seq.

    57. Defendants’ continued use of the infringing marks has confused the

       consuming public, injured SFD, and if permitted to continue, will further

       injure SFD by damaging its reputation and causing additional monetary

       damages.

    58. Defendants’ continued and knowing use of the infringing marks, or their

       reckless disregard, constitutes willful and/or intentional infringement and

       unfair competition.

    59. SFD has no adequate remedy at law and, if Defendants are not enjoined,

       SFD will suffer substantial irreparable harm and injury to their goodwill

       and reputation, and the consuming public will suffer further confusion.

    60. SFD cannot ascertain the precise amount of its damages at this time, but it

       is entitled to recovery of monetary damages, including, but not limited to,

       actual damages, treble damages, reasonable attorneys’ fees, and costs; SFD

       is also entitled to recover Defendants’ ill-gotten profits.
                    Count V - Common Law Unfair Competition

    61. The preceding allegations are incorporated herein by reference.

    62. Defendants have been passing off their goods and services as those of

       SFD, and have been using SFD’s intellectual property to promote their

       own goods, services and credentials in a manner that unfairly competes

       with SFD.




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    63. Consumers and prospective consumers have been confused by

        Defendants actions.

    64. SFD has thereby sustained damage to its reputation, goodwill, and sales,

        in an amount to be proven at trial.

 V. PRAYER FOR RELIEF

    SFD prays for a judgment from this Court as follows:

    (1) that Defendants and their officers, agents, servants, employees, licensees,

 assignees, candidates, designees, students, customers, transferees, successors,

 attorneys, and those persons in active concert or participation with them who

 receive actual notice of the Court’s order, be preliminarily and permanently

 enjoined from:

       (a)    using the Marks or any variation of the Marks to promote, market,

    advertise, provide or sell diversity education services or curriculum for

    diversity education; or inducing informing other that they may use the Marks

    to indicate their capabilities, qualifications or certification in the field of

    diversity;

       (b)    using the Marks or any variation of the Marks on the Internet, as a
    webpage, domain name, in meta tags, or social media account names, or

    otherwise engaging in acts or conduct that would cause confusion as to the

    source, sponsorship, or affiliation of Defendants;
       (c)    using the Marks to indicate, imply or suggest that Defendants have

    been certified by SFD as a CDP or CDE;




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       (d)   diluting, blurring, passing off, or falsely designating the origin of the

    Marks and from further injuring SFD’s goodwill and reputation;

       (e)   engaging in unfair methods of competition with SFD; and

       (f)   doing any other act or thing likely to induce the belief that

    Defendants’ businesses, services, or products are in any way connected with,

    sponsored, affiliated, licensed, or endorsed by SFD; and

    (2) preliminary and permanently ordering and directing Defendants to

       (a) take any and all action necessary to remove any and all of Defendants’

 references to the Marks or any variation of the Marks in connection with their

 promotion, marketing, advertising, and/or sales of diversity education services

 or goods, or from using the marks CDP or CDE adjacent the names of persons

 that have not been conferred CDP or CDE designations by SFD; and

       (b) inform Defendants students / customers their ongoing use of the CDP

 or CDE designations is improper and that they should cease and desist such use

 unless and until they have been conferred CDP or CDE designations by SFD;

    (3) preliminary and permanently ordering and directing Defendants to

 disclose the SFD the contact information for all persons that Defendants have
 purportedly authorized to use any of the Marks;

    (4) that Defendants, in accordance with 15 U.S.C. § 1116(a), be directed to file

 with this Court and serve upon Plaintiffs, within thirty days after service of any

 injunction, a report in writing, under oath, setting forth in detail the manner and

 form in which Defendants have complied with the injunction;

    (5) awarding SFD in accordance with 15 U.S.C. § 1117, and California and

 Indiana law, Defendants’ profits, damages sustained by SFD and three times


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 such amounts as a result of Defendants’ willful wrongful actions, including the

 infringement of federally or state registered trademarks, infringement of

 common law rights, false designation of origin, trademark dilution, and

 employing unfair methods of competing with SFD;

    (6) awarding SFD statutory damages pursuant to 15 U.S.C. § 1117(c) of up to

 Two Million Dollars ($2,000,000) for each trademark per type of goods sold that

 Defendants have willfully counterfeited and infringed;

    (7) awarding SFD punitive damages for Defendants’ willful and malicious

 acts of counterfeiting, infringement, and false designations of origin to deter

 future unlawful activities complained of herein;

    (8) prohibiting pursuant to 11 U.S.C. § 523(a)(6) Defendants from a discharge

 under 11 U.S.C. § 727 for malicious, willful, and fraudulent injury to SFD;

    (9) awarding SFD interest, costs, and reasonable attorneys’ fees incurred in

 connection with this action;

    (10) awarding SFD such other and further relief as this Court may deem to be

 just.

 VI. DEMAND FOR JURY TRIAL

    Plaintiff hereby demands a trial by jury, pursuant to Rule 38 of the Federal

 Rules of Civil Procedure as to all issues in this lawsuit.




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                                       Respectfully submitted,

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